Case 2:19-cv-00217-SJF-SIL Document 37 Filed 07/19/19 Page 1 of 1 PageID #: 2228


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                                                                    July 19, 2019



 Via ECF and Federal Express

 The Honorable Sandra J. Feuerstein
 United States District Judge
 United States District Court, Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

        Re: Saugatuck, LLC v. St. Mary 's Commons Associates, L.L.C., No. 2:19-cv-00217

 Dear Judge Feuerstein:

        I am associated with the law firm of Boies Schiller Flexner LLP, counsel for Plaintiff
 Saugatuck, LLC. I submit this letter in compliance with Local Civil Rule 1.4 to request leave of
 this Court to withdraw my appearance in the above-referenced action because I will be leaving
 Boies Schiller Flexner LLP on August 1, 2019.

        Boies Schiller Flexner LLP will continue to represent the Plaintiff in this action. My
 withdrawal will not delay the matter or prejudice any party, and I am not asserting a retaining or
 charging lien.

        Plaintiff has been provided with a copy of this letter and has consented to my withdrawal.




 cc : All counsel ofrecord via ECF




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